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                                     UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF MARYLAND
                                                   GREENBELT DIVISION


In re: Zachair, Ltd                                               §                 Case No. 20-10691
                                                                  §
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Amended Post-confirmation Report                                                                                        Chapter 11

Quarter Ending Date: 12/31/2024                                                            Petition Date: 01/17/2020



Plan Confirmed Date:12/14/2022                                                       Plan Effective Date: 12/14/2022


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity:
                                                                                     Name of Authorized Party or Entity




/s/ Lawrence A. Katz, Plan Administrator                                 Lawrence A. Katz, Plan Administrator
Signature of Responsible Party                                           Printed Name of Responsible Party
01/28/2025
                                                                         Hirschler Fleischer, PC
Date                                                                     1676 International Drive, Suite 1350
                                                                         Tysons Corner, VA 22102
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Part 1: Summary of Post-confirmation Transfers

                                                                                                                      Total Since
                                                                                              Current Quarter        Effective Date

  a. Total cash disbursements                                                                        $100,196              $1,427,911
 b. Non-cash securities transferred                                                                          $0                    $0
  c. Other non-cash property transferred                                                                     $0                    $0
 d. Total transferred (a+b+c)                                                                        $100,196              $1,427,911

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                Approved       Approved     Paid Current     Paid
                                                                              Current Quarter Cumulative      Quarter      Cumulative
a.      Professional fees & expenses (bankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
                                                                                         $0    $2,854,672             $0    $2,687,453
        Itemized Breakdown by Firm
                 Firm Name                          Role
        i        Whiteford Taylor & Preston LL Special Counsel                           $0    $2,411,664             $0    $2,244,445
        ii       Womble Bond Dickenson (US) Special Counsel                              $0       $71,593             $0        $71,593
        iii      Holland & Knight, LLP              Special Counsel                      $0      $371,415             $0       $371,415
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                                                                                 Approved       Approved     Paid Current     Paid
                                                                               Current Quarter Cumulative      Quarter      Cumulative
b.      Professional fees & expenses (nonbankruptcy)
        incurred by or on behalf of the debtor             Aggregate Total
                                                                                          $0      $182,892             $0       $177,890
        Itemized Breakdown by Firm
                  Firm Name                        Role
        i         William C Harvey & AssociatesOther                                      $0       $45,923             $0        $43,095
        ii        Streamline Advisors, LLC         Financial Professional                 $0       $61,215             $0        $60,540
        iii       SC&H Group, Inc.                 Financial Professional                 $0       $44,183             $0        $44,183
        iv        Mendelson & Mendelson, CPA Financial Professional                       $0       $14,270             $0        $12,069
        v         O'Malley, Miles, Nylen & Gilm Special Counsel                           $0       $17,301             $0        $18,003
        vi


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c.          All professional fees and expenses (debtor & committees)                         $0      $3,037,564            $0     $2,865,342

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                    Total
                                                 Anticipated                                                                      % Paid of
                                                  Payments            Paid Current                                                Allowed
                                                 Under Plan             Quarter           Paid Cumulative      Allowed Claims      Claims
 a. Administrative claims                             $3,037,564                  $0              $2,922,341         $3,037,564        96%
 b. Secured claims                                    $3,381,353                  $0              $3,381,353         $3,381,353       100%
 c. Priority claims                                        $76,696                $0                $76,696             $76,696       100%
 d. General unsecured claims                               $439,019                  $0            $189,163          $3,588,460         5%
 e. Equity interests                                            $0                $0                     $0


Part 4: Questionnaire
     a. Is this a final report?                                                                                Yes    No
             If yes, give date Final Decree was entered:
         If no, give date when the application for Final Decree is anticipated:         03/31/2025
  b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                     Yes    No




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                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ Lawrence A. Katz                                                    Lawrence A. Katz, Plan Administrator
Signature of Responsible Party                                          Printed Name of Responsible Party
Plan Administrator                                                      01/28/2025
Title                                                                   Date




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                                                  Non-Bankruptcy Table 1-50




                                                 Non-Bankruptcy Table 51-100




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